                  Case: 23-50627                            Document: 129                           Page: 1                Date Filed: 02/08/2024




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                                                                            February 8, 2024



       VIA CM/ECF

       Mr. Lyle W. Cayce, Clerk
       United States Court of Appeals for The Fifth Circuit

                Re:           No. 23-50627, Free Speech Coalition v. Paxton

       Dear Mr. Cayce:

            I write in response to Appellees’ letter of January 23, 2024, suggesting that this
       Court’s decision in Book People Inc. v. Wong, No. 23-50668, requires affirmance of
       the district court’s holding that H.B. 1181 unconstitutionally compels pornographers
       to disclose the risks of their products. Not so.

            Book People held that the challenged law—known as H.B. 900—does not fit
       within the framework of Zauderer v. Office of Disciplinary Counsel, 471 U.S. 626
       (1985), because its ratings are not purely factual and uncontroversial. Slip Op. 30-31.
       It reached this conclusion for two related reasons. First, the Court held that H.B. 900
       requires vendors not just to disclose information about their products but to
       effectively express an opinion about whether a book is “sexually relevant” or
       “sexually explicit” based on “contextual analyses, weighing and balancing many
       factors.” Slip Op. 2, 30-31. Second, it concluded that the required disclosures were
       controversial based on its legislative history and a national debate regarding public
       school reading materials. Slip Op. 31 n.127.

           The State reserves the right to argue at an appropriate time that Book People
       inaccurately interprets H.B. 900. But even if it did not, neither of its holdings is
       pertinent to H.B. 1181. First, H.B. 1181 does not require Appellees to conduct a
       “highly fact-specific” review of the individual “family porn” and “teen bondage,”
       ROA.538; Appellant’s Br. 5-6, videos on their websites, let alone to rate them
       “sexually relevant” or “sexually explicit.” Instead, it requires Appellees to provide
       the State’s safety warnings only because 30% of the content on their websites is
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       Case: 23-50627                            Document: 129                           Page: 2                Date Filed: 02/08/2024




Letter to Mr. Cayce, Clerk
February 8, 2024
Page 2


“patently offensive” under “contemporary community standards,” “appeal[ing] to
or pander[ing] to the prurient interest,” and lacking “serious literary, artistic,
political, or scientific value for minors.” Tex. Civ. Prac. & Rem. Code
§129B.001(b)(6); see Appellant’s Br. 26-29. Second, unlike H.B. 900, which is
surrounded by debate, H.B. 1181 passed with near unanimous support in the Texas
Legislature, and similar safety measures are attracting strong bipartisan support
across the nation. See Appellant’s Br. 29.

                                                                           Respectfully submitted,

                                                                             /s/ Lanora C. Pettit
                                                                             Lanora C. Pettit
                                                                             Counsel for Defendant-Appellant




cc: Counsel for All Parties (via CM/ECF)




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